Case 2:13-cv-05651-JFB-SIL           Document 1        Filed 10/11/13     Page 1 of 17 PageID #: 1




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                             X

 MICHAEL DOLAN, SR.,

                                Plaintiff,

                  -against-
                                                                    COMPLAINT
 THE NEW HYDE PARK FIRE DISTRICT, RICHARD
 STEIN, JOHN DIVELLO, MICHAEL BONURA, JOHN                          Jury Trial Demanded
 BROWN, JOHN WALDRON, THE COUNTY OF NASSAU,
 JAMES P. GILROY, THOMAS CIPOLLA, and
 DETECTIVE WALKER.

                                Defendants.

                                                             X



        Plaintiff, MICHAEL DOLAN, SR., by his attorneys, Leeds Brown Law, P.C.,

 complaining of Defendants herein, alleges, upon knowledge as to himself and his own actions,

 and upon information and belief as to all other matters:



                                  JURISDICTION AND VENUE

     1. This is a civil action based upon Defendants violations of the First, Fourth, and

        Fourteenth Amendments to the United States Constitution (as enforced by 42 U.S.C. §

        1983), as well as any other cause of action that can be inferred from the facts set forth

        herein.



    2. The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331, 28 U.S.C. §

        1343(4). The supplemental jurisdiction of the Court, pursuant to28 U.S.C. § 1367, is

        invoked over state law causes of action.



                                                   1
Case 2:13-cv-05651-JFB-SIL         Document 1        Filed 10/11/13     Page 2 of 17 PageID #: 2




    3. Venue is proper pursuant to 28 U.S.C. § 1391.



    4. Plaintiff was deemed to have timely filed a notice of claim against the municipal

       defendants pursuant to an order of the Honorable F. Dana Winslow of the Supreme Court

       State of New York, County of Nassau.


                                            PARTIES

    5. Plaintiff, Michael Dolan, Sr. (“Dolan”), was and still is a resident of Nassau County, New

       York.



    6. Defendant, New Hyde Park Fire District (the ”District”), was and still is a municipal fire

       district organized under the laws of the State of New York and located in Nassau County,

       New York.



    7. Defendant, Richard Stein, was and still is a Commissioner of the District serving on the

       District’s Board of Fire Commissioners (the “Board”). Therefore, Stein is a final

       policymaker for the District, charged with and responsible for properly training and

       supervising employees with respect to employment issues. Stein is sued in his official

       and individual capacities. Stein is a resident of the State of New York, County of Nassau.



    8. Defendant, John DiVello, was and still is a Commissioner of the District serving on the

       District’s Board of Fire Commissioners (the “Board”). Therefore, Divello is a final

       policymaker for the District, charged with and responsible for properly training and

       supervising employees with respect to employment issues. DiVello is sued in his official



                                                 2
Case 2:13-cv-05651-JFB-SIL        Document 1        Filed 10/11/13      Page 3 of 17 PageID #: 3




       and individual capacities. DiVello is a resident of the State of New York, County of

       Nassau.



    9. Defendant, Michael Bonura, was and still is a Commissioner of the District serving on

       the District’s Board of Fire Commissioners (the “Board”). Therefore, Bonura is a final

       policymaker for the District, charged with and responsible for properly training and

       supervising employees with respect to employment issues. Bonura is sued in his official

       and individual capacities. Bonura is a resident of the State of New York, County of

       Nassau.



    10. Defendant, John Brown, was during relevant times, a Commissioner of the District

       serving on the District’s Board of Fire Commissioners (the “Board”). Therefore, Brown

       was a final policymaker for the District, charged with and responsible for properly

       training and supervising employees with respect to employment issues. Brown is sued in

       his official and individual capacities. Brown is a resident of the State of New York,

       County of Nassau.



    11. Defendant, John Waldron, was during relevant times, and still is a Commissioner of the

       District serving on the District’s Board of Fire Commissioners (the “Board”). Therefore,

       Waldron is a final policymaker for the District, charged with and responsible for properly

       training and supervising employees with respect to employment issues. Waldron is sued

       in his official and individual capacities. Waldron is a resident of the State of New York,

       County of Nassau.




                                                3
Case 2:13-cv-05651-JFB-SIL        Document 1           Filed 10/11/13   Page 4 of 17 PageID #: 4




    12. Defendant, County of Nassau ( Nassau ), at all times hereinafter mentioned, was and still
                                      "        "




       is a municipal corporation of the State of New York, with its principal place of business

       at 1550 Franklin Avenue, Mineola, New York



    13. Defendant, Thomas L. Cipolla, is a lieutenant in the Nassau County Police Department

       (“NCPD”). Cipolla works in the State of New York, County of Nassau.



    14. Defendant, James P. Gilroy is a detective in the NCPD. Gilroy works in the State of New

       York, County of Nassau.



    15. Defendant Walker, is a detective in the NCPD. Walker works in the State of New York,

       County of Nassau.



                                            FACTS

    16. The New Hyde Park Fire Department (“NHPFD”) operates under the authority and

       control of the District which has established certain Rules and Regulations under which

       the Department and its members are authorized to operate as a volunteer fire department.



    17. The District is compromised of five commissioners (the “Board”) who are elected by the

       public (residents of the District). Commissioners are not required to be members of the

       Department, but members of the Department may be elected as a commissioner. Indeed,

       any resident of the New Hyde Park Fire District may be elected as a commissioner.




                                                   4
Case 2:13-cv-05651-JFB-SIL        Document 1        Filed 10/11/13     Page 5 of 17 PageID #: 5




    18. Per the Department by-laws and as authorized by the District, the Department is further

       divided into five companies. Each company is assigned apparatus for which they are

       responsible. Further, each company also maintains its own by-laws and elects its own

       command structure which is subordinate to the Department elected officers who in turn,

       report to the Board.



    19. Every member of the Department must also join a specific company, however, all

       members must be approved for membership by the District.



    20. In 1967, Dolan joined the Department.



    21. For nearly 50 years, Dolan participated as an active member of the Department.



    22. Dolan rose through the operational ranks of the Department, holding positions as

       Lieutenant, Captain, Deputy Chief, and Chief.



    23. Only members of the Department may hold the operational titles of Lieutenant, Captain,

       Deputy Chief, and Chief.



    24. Throughout his years of volunteer service, Dolan performed in an exemplary manner.




                                                5
Case 2:13-cv-05651-JFB-SIL         Document 1        Filed 10/11/13     Page 6 of 17 PageID #: 6




    25. In fall 2008, Dolan announced his intention to campaign for election to the District’s

       Board of Fire Commissioners.



    26. Dolan’s opponent was DiVello. DiVello was appointed by the Board in June 2008 to fill

       a vacancy. Accordingly, DiVello was clearly backed and supported by the Board.



    27. Indeed, Brooks openly endorsed DiVello and sent letters of support on his behalf to

       community groups.



    28. Dolan lost the election to DiVello.



    29. In 2009, Dolan again campaigned to be elected as a commissioner, this time against

       Brooks.



    30. Brown endorsed Dolan. Brown wrote a letter to community residents discussing what he

       believed were “illegal” dealings in the District and that Dolan was well known for his

       honesty.



    31. DiVello openly endorsed Brooks and signed a personal message to potential voters

       asking them to vote for Brooks.



    32. Accordingly, the Board was dividing into political factions – those that supported Brooks

       and those that supported Dolan.




                                                 6
Case 2:13-cv-05651-JFB-SIL        Document 1        Filed 10/11/13     Page 7 of 17 PageID #: 7




    33. Dolan won the election and took office on January 1, 2010. Thus, as of January 1, 2010,

       Dolan had two roles – Dolan was a publicly elected commissioner of the District and he

       remained an active member of the Department.



    34. On March 26, 2011, Dolan’s wife, Frances attended a “Comedy Night” hosted by a

       company of the Department. At the end of the event, one of the fire department’s

       company members, George Ruhl, approached Frances and yelled at her in a physically

       intimidating manner.



    35. On March 29, 2011, Frances wrote a letter to the Department’s Chief, John Willers,

       complaining about the incident.



    36. On April 19, 2011, Frances complained by letter to the Board about the Comedy Night

       incident and Willer’s handling of her complaints.



    37. On May 15, 2011, Willers responded to Frances by letter dismissing her complaint and

       writing, among other things:

               I have advised the Enterprise Company, of which your husband is
               a member, that your husband also has the title of Commissioner
               and that this title must be respected at all times. Any further
               incidents will not be tolerated. Your husband has also been
               reminded that he must stop the personal attacks and public ridicule
               of members, which I personally have overheard. The respect is a
               two-way street and must be given to be received. Please be
               advised that while your husband has the title of Commissioner, it is
               not a rank within the command structure of the New Hyde Park
               Fire Department. He is still a Department member and is required
               to follow directions and orders from all Officers and Chiefs of the
               Department while attending meetings, functions, and calls.



                                                7
Case 2:13-cv-05651-JFB-SIL         Document 1           Filed 10/11/13   Page 8 of 17 PageID #: 8




               While it is agreed that you deserve an apology from Firefighter
               Ruhl for his actions, I feel that your actions intensified this
               situation to its current level. I also feel that you owe an apology to
               the Enterprise Company for your role in the intensification of this
               situation. This can be done verbally or in written form to the
               Captain of the Company.


    38. On June 15, 2011, Frances, filed a complaint of discrimination with the New York State

       Division of Human Rights (the “Division”), based on the events flowing from the

       Comedy Night and alleging that Department members were discriminating against her

       based on her marital status, gender, and national origin.



    39. On December 15, 2011, the Division dismissed Frances’ complaint due to lack of subject

       matter jurisdiction.



    40. On January 9, 2012, the Board approved a motion instituting a Senior Citizen Smoke

       Detector Project whereby the Board would work with local community organizations to

       raise funds to purchase batteries for smoke detectors in senior citizens’ homes and

       Department members would assist the homeowners with installing the batteries.



    41. The program was subsequently expanded to include smoke detectors.



    42. On February 27, 2012, Frances refiled her complaint with the Division as a citizen, since

       the incident took place at a public event.




                                                    8
Case 2:13-cv-05651-JFB-SIL          Document 1         Filed 10/11/13     Page 9 of 17 PageID #: 9




    43. In June 2012, Dolan visited the Nassau County Fire Museum and met with the Museum’s

        Chief John Murray, with whom Dolan had a relationship.



    44. Dolan told Murry about the District’s smoke detector program and Murray offered to

        give Dolan 150 smoke detectors to help with the program. The detectors were estimated

       to be worth ten dollars each, thus, the total value of the detectors was no more than

        $1,500.



    45. Dolan intended to distribute the 150 detectors to senior citizens residing in the District.



    46. Dolan brought the detectors back to the District and asked Stein, who was designated to

       be in charge of the program, if he could help. Stein said Dolan could not help, that the

       program was “his” (referring to Stein), and that Stein would get others to help.



    47. Accordingly, Dolan put the smoke detectors in a secure room which is accessible only

       with an electronic key pass which is programmed by the District. Dolan had authorized

        and actual access to the room because he was a commissioner; indeed, only eight people

       have authorized and actual access to the room – the five commissioners, the secretary, the

       treasurer, and the main custodian. Department members and officers cannot access the

       room.




                                                   9
Case 2:13-cv-05651-JFB-SIL        Document 1 Filed 10/11/13             Page 10 of 17 PageID #:
                                           10



   48. A few days later, Dolan noticed that many of the detectors were missing so he took them

      out of the room and brought them to his residence since he believed someone else was

      taking the detectors without authorization and for an improper purpose.



   49. Later that day, Stein called Dolan and asked if he knew where the detectors were. Dolan

      told Stein that he brought them home and Stein asked if he intended to return them.

      Dolan said he would.



   50. Dolan returned the detectors, but noticed a few days later that more detectors had been

      taken.



   51. On June 21, 2012, Dolan returned to the firehouse with his son, Michael Dolan, Jr.

      (“Dolan Jr.”), who is also a department member, and Dolan and Dolan Jr. took the

      remaining detectors.



   52. Dolan distributed 24 detectors to senior citizens from the “Cellini Organization,” an

      Italian-American organization, and returned the rest of the detectors to the Fire Museum.

      Dolan told Chief Murray that he was concerned that there was no accountability and that

      the detectors were going missing.



   53. Upon information and belief, sometime after Dolan returned the detectors to Chief

      Murray, Stein reported to the Nassau County Police Department that Dolan had stolen 65

      smoke detectors and that their value was $3,250.




                                                10
Case 2:13-cv-05651-JFB-SIL         Document 1 Filed 10/11/13            Page 11 of 17 PageID #:
                                            11



   54. Accordingly, the NCPD conducted an investigation.



   55. Upon information and belief, during the investigation, the NCPD determined that the

      detectors were, in fact, returned to the Museum.



   56. Despite having knowledge that the detectors were returned to the Museum, on July 15,

      2012, Detectives Gilroy and Walker arrested Dolan and charged him Grand Larceny in

      the Third Degree, a felony. Lt. Cipolla signed the felony complaint which read:

              TO WIT: On the aforementioned date, time and place of occurrence, Michael
              Dolan, along with a not yet apprehended male, did remove 65 Kidde smoke
              detectors from a room within the New Hyde Park Fire Department. The defendant
              did not have permission or authority to remove the smoke detectors. The total
              value of the smoke detectors removed is $3250.00.


   57. According to the felony complaint, each detector was worth $50, however, the detectors

      were worth no more than $10. Accordingly, the arresting officers could not have had

      reasonable suspicion or probable cause to believe that Dolan could be guilty of the crime

      for which he was charged.



   58. Dolan was detained against his will in a cell for 21 hours.



   59. Pursuant to the District’s rules and regulations, if a member is convicted of a felony, such

      member “shall be automatically dropped from membership.” Accordingly, if Dolan were

      to be convicted, he would have been terminated as a volunteer member.




                                                11
Case 2:13-cv-05651-JFB-SIL        Document 1 Filed 10/11/13             Page 12 of 17 PageID #:
                                           12



   60. On October 12, 2012, the Nassau County District Attorney’s Office (the “NCDAO”)

      moved to reduce and convert the felony charge to a misdemeanor because it believed

      there was no reasonable cause to believe Dolan committed a felony.



   61. Honorable Susan T. Kluewer, Nassau County District Court Judge granted the motion.



   62. The NCDAO then moved to dismiss the misdemeanor charge because it did not “really

      have reasonable cause to believe that defendant committed a misdemeanor” and that there

      was “insufficient evidence to proceed to trial.”



   63. Accordingly, Judge Kluewer dismissed the case and Dolan received a favorable

      determination.



   64. On October 16, 2012, just four days after the NCDAO conceded it did not have

      reasonable cause of sufficient evidence to support its charges, Stein, on behalf of the

      Board, issued charges and specifications against Dolan, in his capacity as a volunteer

      member of the NHPFD.



   65. A hearing on the charges was held on January 7 and 8, 2013.



   66. On January 7, 2013, Stein stated that he “[doesn’t] like the way [Dolan] handles himself

      as a Fire Commissioner.”




                                               12
Case 2:13-cv-05651-JFB-SIL         Document 1 Filed 10/11/13             Page 13 of 17 PageID #:
                                            13



   67. On February 28, 2013, the hearing officer issued a report and recommendation that Dolan

      be removed as a member of the NHPFD.



   68. On April 8, 2013, Bonura signed a final decision on behalf of the District and the Board

      dismissing Dolan from the NHPFD.



                         AS AND FOR A FIRST CAUSE OF ACTION
                       (First Amendment Retaliation – Political Activity)

   69. Defendants, Stein, DiVello, Bonura, Brown and Waldron, acting under color of state law,

      denied Plaintiff terms, conditions and privileges of volunteer employment, and subjected

      Plaintiff to adverse actions based on his political activity in opposition to the Board, in

      violation of the First Amendment to the United States Constitution, as enforced by 42

      U.S.C. § 1983.



   70. Defendant, the District, has while acting under color of state law, deprived Plaintiff of his

      constitutional rights, as secured by the First Amendment to the United States

      Constitution, as enforced by 42 U.S.C. § 1983. Defendant intentionally committed,

      condoned or was deliberately indifferent to the aforementioned violations of Plaintiff’s

      constitutional right to engage in political activity. Such deliberate indifference may be

      inferred in the following way: Policymakers, such as, Stein, DiVello, Bonura, and Brown,

      engaged in and/or tacitly condoned the violation of Plaintiff’s rights, as described above.




                                                 13
Case 2:13-cv-05651-JFB-SIL         Document 1 Filed 10/11/13             Page 14 of 17 PageID #:
                                            14



                  AS AND FOR A SECOND CAUSE OF ACTION
    (First Amendment Retaliation and Fourteenth Amendment– Intimate Association)

   71. Defendants, Stein, DiVello, Bonura, and Brown, acting under color of state law, denied

      Plaintiff terms, conditions and privileges of volunteer employment and subjected Plaintiff

      to adverse actions in retaliation for his wife’s expression of her right to petition the

      government in redress of grievances, in violation of the First and Fourteenth

      Amendments to the United States Constitution, as enforced by 42 U.S.C. § 1983.



   72. Defendant, the District, has while acting under color of state law, deprived Plaintiff of his

      constitutional rights, as secured by the First Amendment to the United States

      Constitution, as enforced by 42 U.S.C. § 1983. Defendant intentionally committed,

      condoned or was deliberately indifferent to the aforementioned violations of Plaintiff’s

      constitutional right to intimate association. Such deliberate indifference may be inferred

      in the following way: Policymakers, such as, Stein, DiVello, Bonura, and Brown,

      engaged in and/or tacitly condoned the violation of Plaintiff’s rights, as described above.



                       AS AND FOR A THIRD CAUSE OF ACTION
                                   (Abuse of Process)

   73. Defendants, Stein, DiVello, Bonura, and Brown, acting under color of state law, caused

      the NCPD to arrest Dolan without proper cause and for the ulterior motive of creating

      sufficient cause to terminate Dolan’s employment in violation of the Fourteenth

      Amendments to the United States Constitution, as enforced by 42 U.S.C. § 1983 and the

      Constitution and Laws of the State of New York State.




                                                 14
Case 2:13-cv-05651-JFB-SIL         Document 1 Filed 10/11/13             Page 15 of 17 PageID #:
                                            15



   74. Defendant, the District, has while acting under color of state law, deprived Plaintiff of his

      constitutional rights, as secured by the Fourteenth Amendment to the United States

      Constitution, as enforced by 42 U.S.C. § 1983. Defendant intentionally committed,

      condoned or was deliberately indifferent to the aforementioned violations of Plaintiff’s

      constitutional right to intimate association. Such deliberate indifference may be inferred

      in the following way: Policymakers, such as, Stein, DiVello, Bonura, and Brown,

      engaged in and/or tacitly condoned the violation of Plaintiff’s rights, as described above.



                      AS AND FOR A FOURTH CAUSE OF ACTION
                               (Malicious Prosecution)

   75. Defendants, Stein, DiVello, Bonura, and Brown, acting under color of state law, caused

      the NCPD to arrest Dolan without proper cause and allowed the NCDAO to prosecute to

      Dolan without probable cause and while knowing the value of the detectors did not

      support a felony complaint, in violation of the Fourteenth Amendments to the United

       States Constitution, as enforced by 42 U.S.C. § 1983, and the Constitution and Laws of

      the State of New York State. Further, defendants acted with malice and with the intent to

      have Dolan expelled from the Department.



   76. Defendant, the District, has while acting under color of state law, deprived Plaintiff of his

      constitutional rights, as secured by the Fourteenth Amendment to the United States

      Constitution, as enforced by 42 U.S.C. § 1983. Defendant intentionally committed,

      condoned or was deliberately indifferent to the aforementioned violations of Plaintiff’s

      constitutional right to intimate association. Such deliberate indifference may be inferred

      in the following way: Policymakers, such as, Stein, DiVello, Bonura, and Brown,



                                                 15
Case 2:13-cv-05651-JFB-SIL          Document 1 Filed 10/11/13           Page 16 of 17 PageID #:
                                             16



       engaged in and/or tacitly condoned the violation of Plaintiff’s rights, as described above.


                        AS AND FOR A FIFTH CAUSE OF ACTION
                            (False Arrest/False Imprisonment)

   77. Defendants, Gilroy, Cipolla, and Walker, acting under color of state law, arrested and

       detained Dolan against his will without proper cause in violation of the Fourth

       Amendment to the United States Constitution, as enforced by 42 U.S.C. § 1983 and the

       Constitution and Laws of the State of New York State.



   78. Defendant, the County, has while acting under color of state law, deprived Plaintiff of his

       constitutional rights, as secured by the Fourth Amendment to the United States

       Constitution, as enforced by 42 U.S.C. § 1983. Defendant intentionally committed,

       condoned or was deliberately indifferent to the aforementioned violations of Plaintiff’s

       constitutional right to intimate association.


                      AS AND FOR A SEVENTH CAUSE OF ACTION
                                      (Battery)

   79. Defendants, Gilroy and Walker committed a battery against Dolan by touching him

       without his consent.


WHEREFORE, Plaintiff demands judgment against all Defendants in the form of and/or for

compensatory, emotional, physical, and punitive damages (where applicable), interest, injunctive

relief, and any other damages permitted by law. Plaintiff also demands judgment against

defendants for each cause action and for all applicable and permissible damages, in an amount to

be assessed at the time of trial. The plaintiff further seeks injunctive relief, including but not

limited to, the clearing of his personnel file of any wrongful disciplinary actions, immediate



                                                 16
Case 2:13-cv-05651-JFB-SIL         Document 1 Filed 10/11/13             Page 17 of 17 PageID #:
                                            17



reinstatement, and a permanent injunction enjoining all Defendants and their agents from any

further actions abridging Plaintiff’s rights. Plaintiff further demands all attorneys’ fees,

disbursements and other costs and all further relief, equitable or otherwise, to which Plaintiff is

entitled and/or which the court deems just and proper.


Dated: Carle Place, New York
       October 11, 2013

                                              LEEDS BROWN LAW, P.C.
                                              Attorneys for Plaintiff
                                              One Old Country Road, Suite 347
                                              Carle Place, New York 11514
                                              (516) 873-9550

                                                           /s/
                                                      MATTHEW WEINICK




                                                 17
